                     Case 21-15791-RAM         Doc 80     Filed 11/18/21    Page 1 of 2




       ORDERED in the Southern District of Florida on November 17, 2021.




                                                 Robert A. Mark, Judge
_____________________________________________________________________________
                                                 United States Bankruptcy Court




                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA


       IN THE MATTER OF:                                   CASE NO. 21-15791-RAM
       RUBEN OCHOA                                         CHAPTER 13


             Debtors,
       ________________________________/

        AGREED ORDER SUSTAINING IN PART AND DENYING IN PART OBJECTION TO
                                 CLAIM 9-1, DE 57

              THIS CAUSE came before this Court on Objection (DE 57 ) to Claim 9-1, the parties

       having reached an agreement, and being otherwise duly advised in the premises, it is

              HEREBY ORDERED that Debtor’s objection is sustained in part and denied in part.
              Case 21-15791-RAM          Doc 80     Filed 11/18/21     Page 2 of 2




       1. Claim 9-1 will be allowed as a secured claim which will be treated in the Debtor’s

           plan, but the amount of the Claim 9-1 is reduced to $19,292.68.

                                                     ###

       Submitted by:

RICARDO CORONA, ESQ.
Florida Bar No. 111333
6700 SW 38th Street
Miami, FL 33155
(305) 547-1234 Phone
(305) 266-1151 Fax
Email; bk@coronapa.com




The party submitting the order shall serve a copy of the signed order on all required parties and
file with the court a certificate of service conforming with Local Rule 2002-1(F).
